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 8
 9                         IN THE UNITED STATES DISTRICT COURT
10                                  FOR THE DISTRICT OF ARIZONA
11
12
     R. Alexander Acosta,                             Case No. [Case Number]
13    Secretary of Labor,
      United States Department of Labor,
14
                       Plaintiff,                     COMPLAINT FOR VIOLATIONS
15                v.                                  OF THE FAIR LABOR
                                                      STANDARDS ACT
16   Valley Wide Plastering Construction, Inc., dba
     Valley Wide Plastering, Inc., an Arizona
17   corporation; Jesus Guerrero, aka Jesse
     Guerrero, an individual; Rose Guerrero, an
18   individual; and Jesse Guerrero, Jr., aka J.R.
     Guerrero, an individual,
19
                       Defendants.
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 1                                        INTRODUCTION
 2            The Fair Labor Standards Act (“FLSA”) requires employers to pay employees an
 3   overtime premium for all hours worked in excess of forty in a work week. Contrary to
 4   those requirements, Defendants Valley Wide Plastering Construction, Inc., dba Valley
 5   Wide Plastering; Jesus Guerrero, aka Jesse Guerrero; Rose Guerrero; and Jesse
 6   Guerrero, Jr., aka J.R. Guerrero (collectively, “Defendants”) have denied their
 7   employees the full lawful wages due and impeded the Secretary’s investigation and their
 8   workers’ ability to detect the violations by misrepresenting to workers the hours they
 9   worked, failing to maintain accurate records of employee hours, and destroying and/or
10   altering any partial records. Through these actions, Defendants have harmed not only
11   their own employees, but also law abiding employers who face unfair competition in the
12   marketplace due to Defendants’ illegal practices. The Secretary brings this case to
13   recover the wages owed to Defendants’ employees, to enjoin future violations, and to
14   protect the significant public interest at stake.
15                                  NATURE OF THE ACTION
16            1.    Plaintiff R. Alexander Acosta, Secretary of Labor for the United States
17   Department of Labor (“the Secretary”), is charged with enforcing the FLSA to eliminate
18   “labor conditions detrimental to the maintenance of the minimum standard of living
19   necessary for health, efficiency, and general well-being of workers[.]” 29 U.S.C. §
20   202(a). In bringing actions under the FLSA, the Secretary represents not only the
21   interest of the individual employees affected by an employer’s violations of the law, but
22   also the broader public interest, including the interests of law-abiding employers whose
23   ability to compete is harmed by employers who pay their employees subminimum
24   wages.
25            2.    In this case, the Secretary seeks to enjoin Defendants from violating the
26   requirements of the FLSA under § 17 of the Act, 29 U.S.C. § 217; and to recover all
27   wages owed to Defendants’ employees, including those listed by name on the attached
28   Exhibit A to this Complaint, and any other employees that the Secretary later identifies,

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 1   together with an equal amount as liquidated damages, under § 16(c) of the Act, 29
 2   U.S.C. § 216(c).
 3                               JURISDICTION AND VENUE
 4          3.     The Court has jurisdiction over this action under § 17 of the FLSA, 29
 5   U.S.C. § 217 (injunction proceedings to restrain violations of § 15 of the Act); 28 U.S.C.
 6   § 1331 (federal question); and 28 U.S.C. § 1345 (United States as plaintiff).
 7          4.     Venue lies in the District of Arizona pursuant to 28 U.S.C. § 1391(b)
 8   because a substantial part of the events giving rise to the claim occurred in Arizona.
 9               DEFENDANTS ARE EMPLOYERS SUBJECT TO THE FLSA
10          5.     Defendant Valley Wide Plastering Construction, Inc., dba Valley Wide
11   Plastering, Inc. (“Valley Wide”) is a corporation organized and existing under the laws
12   of Arizona, with its principal place of business at 1121 West Ranch Road, Tempe
13   Arizona, in Maricopa County, Arizona. Valley Wide is a construction contractor that
14   provides commercial and residential stucco and exterior insulation and finishing services
15   in and around the Phoenix Metropolitan area, Tucson, and other parts of Arizona. To
16   provide these services, Valley Wide employs workers, including the employees named
17   in Exhibit A, who build scaffolding, install lathing, apply stucco or other insulation and
18   finishes, and perform other construction-related work, such as painting, driving, loading
19   materials, and overseeing crews; workers who handle and/or oversee handling of
20   equipment and materials in the company’s storage yard; and office workers who provide
21   administrative and clerical support to the company. At all relevant times, Defendant
22   Valley Wide is and has been an employer within the meaning of FLSA § 3(d), 29 U.S.C.
23   § 203(d), in relation to the employees listed on Exhibit A to this Complaint, and all other
24   employees whom the Secretary later identifies.
25          6.     Defendant Jesus Guerrero, aka Jesse Guerrero (“Jesse Guerrero”), is the
26   President, Chief Executive Officer, and 50% owner of Valley Wide. He resides in
27   Maricopa County, Arizona. At all relevant times, he has jointly directed the day to day
28   operations of Valley Wide with his wife Rose Guerrero and son Jesse Guerrero, Jr., aka

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 1   J.R. Guerrero (“J.R. Guerrero”) and acted directly or indirectly in the interest of Valley
 2   Wide in relation to its employees, including by hiring, firing, and supervising
 3   employees, determining their pay rates, schedules, and assignments, maintaining
 4   employment records, and determining other employment practices. As a result, he is
 5   individually liable as an employer under § 3(d) of the FLSA, 29 U.S.C. § 203(d), for
 6   back wages and liquidated damages owed to Valley Wide’s employees.
 7          7.     Defendant Rose Guerrero is the Secretary and 50% owner of Valley Wide.
 8   She resides in Maricopa County, Arizona. At all relevant times, she has jointly directed
 9   the day-to-day operations of the business with her husband and son, Jesus Guerrero and
10   J.R. Guerrrero, respectively, and has acted directly or indirectly in the interest of Valley
11   Wide in relation to its employees, including by managing and processing payroll for
12   Valley Wide’s staff, maintaining employment records, hiring, firing, and supervising
13   employees, determining workers’ pay rates, schedules, and assignments, and
14   determining other terms and conditions of employment. As such, she is individually
15   liable as an employer under § 3(d) of the FLSA, 29 U.S.C. § 203(d), for back wages and
16   liquidated damages owed to Valley Wide’s employees.
17          8.     Defendant J.R. Guerrero is the Vice President of Valley Wide. He resides
18   in Maricopa County, Arizona. At all relevant times, he has jointly directed the day to day
19   operations of Valley Wide with his parents Jesus Guerrero and Rose Guerrero and acted
20   directly or indirectly in the interest of Valley Wide in relation to its employees,
21   including by hiring, firing, and supervising employees, determining their pay rates,
22   schedules, and assignments, maintaining employment records, and determining other
23   employment practices. As a result, he is individually liable as an employer under § 3(d)
24   of the FLSA, 29 U.S.C. § 203(d), for back wages and liquidated damages owed to
25   Valley Wide’s employees.
26          9.     Defendants Jesus Guerrero, Rose Guerrero, and J.R. Guerrero
27   (collectively, “the Guerreros”) use various other corporate forms to operate their
28   construction business, including Superwall Manufacturing, Inc. (“Superwall”), Casa

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 1   Rica Development and Construction, Ltd. (“Casa Rica”), and JRS Guerrero Ltd
 2   Partnership (“JRS Guerrero”). All of these entities are registered at the same place of
 3   business as Valley Wide. Superwall, owned by J.R. Guerrero, purchases construction
 4   materials and supplies for Valley Wide’s business. JR Guerrero Ltd, also owned by J.R.
 5   Guerrero, owns property and receives rent from Valley Wide. Casa Rica, owned by
 6   Jesse and Rose Guerrero, provides “consulting” services to Valley Wide and serves as a
 7   general contractor on projects where Valley Wide performs work. At all relevant times,
 8   the Guerreros routinely transferred funds between their companies, including by
 9   transferring hundreds of thousands of dollars each year from Valley Wide to companies
10   owned by J.R. Guerrero. For example, in 2016 alone, Valley Wide owed or paid over
11   $500,000 to Superwall and JRS Guerrero.
12       DEFENDANTS’ EMPLOYEES ARE ENTITLED TO THE WAGES AND
13                              PROTECTIONS OF THE FLSA
14          10.    At all relevant times, the Guerreros jointly operated and controlled Valley
15   Wide for the common business purpose of providing construction services in and around
16   the Phoenix Metro Area, Tucson, and other areas of Arizona. As a result, Valley Wide is
17   and has been an “enterprise,” as defined in FLSA § 3(r), 29 U.S.C. § 203(r), with
18   business activities that are related and performed through unified operation or common
19   control for a common business purpose.
20          11.    At all relevant times, two or more Valley Wide employees have regularly
21   and routinely handled or otherwise worked on goods or materials that have been moved
22   in or produced for commerce, including construction and stucco materials, such as Pre-
23   Furred Stucco Netting by Davis Wire from Irwindale, California; Senerflex Fine
24   Medium by Senergy Wall Systems from Miami, Florida; and Self-Furring Star Stucco
25   Net by DeAcero from Laredo, TX. At all relevant times, Valley Wide has had a gross
26   annual revenue of over $1,000,000. As a result, Valley Wide is and at all relevant times
27   has been engaged in commerce or in the production of goods for commerce within the
28   meaning of § 3(s)(1)(A) of the FLSA, 29 U.S.C. § 203(s)(1)(A), in that Valley Wide at

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 1   all relevant times had employees engaged in commerce or in the production of goods for
 2   commerce, or employees handling, selling, or otherwise working on goods or materials
 3   that have been moved in or produced for commerce, and had an annual gross volume of
 4   sales of not less than $500,000.
 5                 FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
 6           12.   In 2012, the Wage and Hour Division, U.S Department of Labor (“Wage
 7   and Hour Division”) conducted two investigations of Valley Wide’s compliance with the
 8   FLSA. Since at least the time of those investigations, Defendants have been aware of the
 9   requirements of the FLSA.
10           13.   In every workweek since at least October 5, 2015, Valley Wide employees
11   have worked long daily and weekly hours, exceeding 40 hours each week. For example,
12   many Valley Wide employees have routinely worked more than 8 hours per day,
13   Monday through Friday, and also worked 8 hours on Saturdays, for a total of more than
14   48 hours in the workweek. Valley Wide employees across the company – including but
15   not limited to the types of employees described in ¶ 5 – have routinely worked long
16   hours in excess of 40 per workweek.
17           14.   In every workweek since at least October 5, 2015, Defendants have failed
18   to pay their employees the required overtime premium for hours in excess of 40 in the
19   workweek. Instead, Defendants have paid employees a fixed piece rate regardless of
20   hours worked, paid them straight time for hours worked, or failed to pay them at all for
21   hours worked, including time spent loading materials at the yard and driving to the work
22   site.
23           15.   In every workweek since at least October 5, 2015, Defendants failed to
24   create and/or retain accurate records of the daily and weekly hours worked by Valley
25   Wide employees and the wages paid to them. For example, Defendants have failed to
26   maintain records of employees’ actual daily hours worked, falsified daily time records to
27   cover up the hours recorded by employees, and destroyed records of daily hours worked
28   by employees.

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 1          16.     By falsifying, destroying, and failing to maintain accurate records of
 2   employees hours worked, Defendants interfered with the ability of their employees, and
 3   derivatively of the Secretary, to understand and detect Defendants’ unlawful payment
 4   practices, including their failure to pay overtime.
 5          17.     On October 12, 2017, approximately one week after the Wage and Hour
 6   Division began an investigation of Valley Wide, Defendants terminated an employee
 7   whom they suspected of having complained to the Division. Defendants reinstated the
 8   employee only after the Secretary’s representative intervened.
 9          18.     Over at least the next six months, Defendants continued to interfere with
10   the Wage and Hour Division’s investigation. Among other things, Defendants and their
11   managers recorded or attempted to record employees’ interviews with the Secretary’s
12   investigators, intimidated or attempted to intimidate workers who were interviewed, and
13   pressured workers not to provide complete information to the Secretary’s investigators.
14   Through these actions, Defendants deterred their employees from exercising their rights
15   under the FLSA, and interfered with the Secretary’s efforts to detect the full extent of
16   their violations.
17                                    CLAIMS FOR RELIEF
18                                FIRST CLAIM FOR RELIEF
19                Failure to Pay Overtime Premiums in Violation of the FLSA
20          19.     The Secretary incorporates the facts alleged in ¶¶ 1-18.
21          20.     Defendants have violated and continue to violate §§ 7 and 15(a)(2) of the
22   FLSA, 29 U.S.C. §§ 207, 215(a)(2), by employing their employees engaged in
23   commerce or in an enterprise engaged in commerce, for workweeks longer than 40 hours
24   without compensating the employees for all their employment in excess of 40 hours in
25   such workweeks at rates not less than one and one-half the regular rates at which they
26   were employed.
27          21.     At all relevant times, Defendants have willfully violated and continue to
28   willfully violate §§ 7 and 15(a)(2) of the FLSA, 29 U.S.C. §§ 207 and 215(a)(2).

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 1   Defendants knew or should have known of the FLSA’s overtime requirements but
 2   nevertheless employed, and continue to employ, workers without properly compensating
 3   them. Section 17 of the FLSA, 29 U.S.C. § 217, authorizes the Court to enter a
 4   judgment that enjoins and restrains this violation, including restraining Defendants from
 5   withholding payment of unpaid overtime compensation found to be due to present and
 6   former employees, including the persons named on the attached Exhibit A, as well as
 7   any employees whom the Secretary later identifies.
 8                              SECOND CLAIM FOR RELIEF
 9                    Violation of Recordkeeping Provisions of the FLSA
10          22.    The Secretary incorporates the facts alleged in ¶¶1-18.
11          23.    Defendants have violated and continue to violate §§ 11(c) and 15(a)(5) of
12   the FLSA, 29 U.S.C. §§ 211(c) and 215(a)(5), by failing to maintain, keep, make
13   available (to the Secretary’s agents for inspection, transcription, and/or copying), and
14   preserve accurate records of all employees and of the wages, hours, and other conditions
15   and practices of employment maintained, as prescribed by 29 C.F.R. § 516.
16          24.    At all relevant times, Defendants have willfully violated and continue to
17   violate § 11(c) of the FLSA, 29 U.S.C. § 211(c). Defendants knew or should have
18   known of the Act’s recordkeeping requirements, and continued to create and maintain
19   inaccurate, incomplete, and/or falsified records of employees’ hours worked and wages
20   paid, and destroyed partial records of hours worked.
21                               THIRD CLAIM FOR RELIEF
22                               Interference with FLSA Rights
23          25.    The Secretary incorporates the facts alleged in ¶¶ 1-18.
24          26.    Defendants have violated and continue to violate § 15(a)(3) of the FLSA,
25   29 U.S.C. § 215(a)(3), including by terminating an employee whom Defendants
26   suspected of complaining to the Wage and Hour Division, intimidating or attempting to
27   intimidate employees not to cooperate with the Secretary’s investigators, recording their
28   interviews with investigators, and otherwise interfering with employees’ ability to

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 1   exercise their rights under the FLSA, including by misrepresenting to them their hours
 2   worked, and altering, destroying, and failing to maintain accurate time records.
 3          27.    At all relevant times, Defendants have willfully violated and continue to
 4   violate § 15(a)(3) of the FLSA, 29 U.S.C. § 215(a)(3). Defendants knew or should have
 5   known of the Act’s anti-retaliation provisions, and they took action against their
 6   employees to deter them from or punish them for exercising their rights, including by
 7   engaging in the conduct described in ¶ 26.
 8                                   PRAYER FOR RELIEF
 9          WHEREFORE, the Secretary prays for judgment against Defendants as follows:
10          (a)    For an Order under § 17 of the FLSA, 29 U.S.C. § 217, permanently
11   enjoining and restraining Defendants, their officers, agents, servants, employees, and
12   those persons in active concert or participation with them from prospectively violating
13   the FLSA, including §§ 6, 7, 11, 15(a)(2), 15(a)(3), and 15(a)(5) of the FLSA, 29 U.S.C.
14   §§ 206, 207, 211, 215(a)(2), 215(a)(3), and 215(a)(5); and
15          (b)    For an Order:
16                 (1)    Under § 16(c) of the FLSA, 29 U.S.C. § 216(c) finding Defendants
17          liable for all wages due, including overtime compensation, from at least October
18          5, 2015 through the present, to all of Defendants’ employees including the
19          employees listed in the attached Exhibit A and all other employees later identified
20          by the Secretary, and an additional equal amount as liquidated damages; or
21                 (2)    In the event liquidated damages are not awarded, under § 17 of the
22          FLSA, 29 U.S.C. § 217, enjoining and restraining Defendants and their officers,
23          agents, servants, employees and those persons in active concert or participation
24          with Defendants, from withholding payment of unpaid back wages found to be
25          due, from at least October 5, 2015 through the present, to Defendants’ employees,
26          and pre-judgment interest at an appropriate interest rate;
27          (c)    For an Order under § 17 of the FLSA, 29 U.S.C. § 217, reimbursing
28   Defendants’ current and former employees, including the persons listed on the attached

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 1   Exhibit A and all other employees later identified by the Secretary, for wages lost as a
 2   result of Defendants violating § 15(a)(3) of the Act, 29 U.S.C. § 215(a)(3), plus an
 3   additional equal amount in liquidated damages;
 4          (d)    For an Order requiring Defendants to issue a curative notice to their
 5   employees that rectifies their FLSA violations, including through notifying their
 6   employees of their rights under the FLSA and this lawsuit;
 7          (e)    For an Order providing such further equitable relief as may be deemed
 8   necessary or appropriate, including equitable tolling of the applicable three-year statute
 9   of limitations to redress interference with, or delayed detection of, the violations of the
10   FLSA by the Secretary due to Defendants’ interference with the Secretary’s
11   investigation and actions to confuse employees about their rights under the FLSA and/or
12   to intimidate or coerce them from exercising their rights and status as an employee; and
13          (f)    For an Order awarding the Secretary the costs of this action.
14
                                                    Respectfully submitted,
15
16    Dated: December 18, 2018                      KATE S. O’SCANNLAIN
                                                    Solicitor of Labor
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18                                                  JANET M. HEROLD
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                                                    Department of Labor
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